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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                     MDL Docket No. 1629
In re: NEURONTIN MARKETING,
       SALES PRACTICES AND                           Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION
                                                     Judge Patti B. Saris

                                                     Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:

MUSTAFA, ET. AL. V. PFIZER, INC., ET. AL.            Individual Case No. 06-11394



                                            ORDER


       Before the Court is John J. Driscoll’s, Motion for Leave to Withdraw as Counsel. Attorney

John J. Driscoll moves the Court for leave to withdraw as counsel for Plaintiffs Fazila Mustafa

and Mohammad Mustafa. Andrew G. Finkelstein, Kenneth B. Fromson, and Eleanor Louise

Polimeni, all of the law firm of Finkelstein & Partners, LLP, continues to represent

aforementioned Plaintiffs. Accordingly, the Court being fully advised rules as follows:

       IT IS THE ORDER of this COURT that John J. Driscoll’s Motion for Leave to Withdraw

as Counsel be GRANTED.



                                     It is So Ordered:________________________________
                                                          JUDGE

DATE: _______________________
